    Case 1:20-cv-03535-JPO          Document 1       Filed 05/06/20     Page 1 of 18




                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK
________________________________________________
ERNIE HINES D/B/A COLORFUL MUSIC                 )
                  Plaintiff                      ) Action No.
v.                                               )
EMI APRIL MUSIC INC.,                            )
EMI BLACKWOOD MUSIC INC. and                     ) COMPLAINT
WARNER CHAPPELL MUSIC INC.                       )
SHAWN CARTER p/k/a JAY-Z and                     )
TIMOTHY MOSLEY p/k/a TIMBALAND                   )
                  Defendants                     )
________________________________________________)
                             JURISDICTION

1.      Jurisdiction is based on diversity of citizenship and federal question. The amount
in controversy exceeds Two Million Dollars ($2,000,000.00).

                                        PARTIES

2.    Ernie Hines d/b/a Colorful Music (“Hines”) has an address of 227 Elgin Ave. Apt
2A Forest Park, IL 60130.

3.      EMI April Music Inc. (“EMI 1”) has an address of 550 Madison Ave., New York,
NY 10022, 25 Madison Ave, New York, NY 10010, and 245 Fifth Ave, Suite 1101, New
York, NY 10016. The Registered Agent for EMI 1 is Corporation Service Company, 80
State Street, Albany, NY 12207.

4.     EMI Blackwood Music Inc. (“EMI 2”) has an address of 550 Madison Ave., New
York, NY 10022 and 25 Madison Ave, New York, NY 10010 and 245 Fifth Ave, Suite
1101, New York, NY 10016. The Registered Agent for EMI 2 is Corporation Service
Company, 80 State Street, Albany, NY 12207.


5.     Warner Chappell Music Inc. (“WC”) is a Delaware entity with an address of 777
South Santa Fe Ave, Los Angeles, CA 90021 and 1633 Broadway, New York, NY,
10019. CT Corporation System is the registered agent for WC with an address of 28
Liberty Street, New York, NY 10005. WC does business in the State of New York.




                                             1
   Case 1:20-cv-03535-JPO          Document 1       Filed 05/06/20     Page 2 of 18




6.     Shawn Carter p/k/a (“Carter” or “Jay-Z”) is an American mogul and rapper, resides at 195
Hudson Street, New York, NY 10013 and has a business address of Roc Nation LLC, 540 West
26th Street, New York, NY 10001.

7.     Timothy Mosley p/k/a (“Mosley” or “Timbaland”) is an American music producer. He is
the owner of Timbaland Productions Inc., a Virginia entity, ID No. 05264957, with a business
address of L.L. Business Management Inc., 3000 Marcus Ave. Suite 1W5, Lake Success, NY
11042 on file with the Virginia Secretary of State’s Office. Mosley also has an address of 5400
Hammock Drive, Coral Gables, FL 33156, also known as 5400 SW 92nd Street, Coral Gables, FL,
33156.


                                        FACTS

8.      Hines is the co-author and composer of the song “Help Me Put Out The Flame (In
My Heart)” (“Help Me”) which Hines registered with the United States Copyright Office.
It was originally registered in 1969 and has a renewal registration of EU0000154302 and
a renewal and addendum registration of RE0000932464. The song was released on Stax
Records over forty (40) years ago. “Help Me” was also released in 1993 on The Complete
Stax Volt Soul Singles. See https://www.allmusic.com/album/the-complete-stax-volt-
soul-singles-vol-2-1968-1971-mw0000622330. The 1993 version of “Help Me” has a
United States Copyright Registration of PA 2-184-476.

Help Me

9.      The musical composition for “Help Me” and the copyrights relating to “Help Me”,
contain a guitar riff and musical crescendo at the beginning of the song/composition. The
guitar riff and musical crescendo are original and contains protectable elements which
have been copyrighted by Hines.

10.    The musical composition “Help Me” which contains a protectable guitar riff and
musical crescendo, was used in the musical composition for “Paper Chase”. The songs
“Help Me” and “Paper Chase” are substantially similar. The authors and copyright
claimants of “Paper Chase” used the protectable guitar riff and musical crescendo in the
musical composition of “Help Me” to create the musical composition of “Paper Chase”.
The use of “Help Me” in the composition “Paper Chase” infringes on Plaintiff’s rights.
EMI 2 is the copyright claimant for Paper Chase which has a copyright registration
number of PA0001320423. Mosley and Carter are the alleged authors of “Paper Chase”.

11.    Upon information and belief, Timothy Mosley (“Mosley”), one of the authors of
“Paper Chase”, used the musical composition of “Help Me” again, and placed the

                                            2
    Case 1:20-cv-03535-JPO           Document 1       Filed 05/06/20      Page 3 of 18




protectable guitar riff and musical crescendo into the musical composition for “Toe 2
Toe” which Mosley contends he co-authored. The songs "Toe 2 Toe” and “Help Me” are
substantially similar as Mosley included the protectable guitar riff and musical crescendo
from the song “Help Me” in the composition for “Toe 2 Toe”. EMI 1 claims interest in the
copyright for “Toe 2 Toe” through relationship with Virginia Beach Music and its related
entities. “Toe 2 Toe” has a copyright registration number of PA0000987622.

12.     Defendants have copyrighted, used or benefited from the protectable elements of
“Help Me” in violation of Plaintiff’s rights under the Copyright Act and have placed the
guitar riff and musical crescendo from “Help Me” into the compositions of “Paper Chase”
and “Toe 2 Toe”.

Vol. 2… Hard Knock Life - 1998- Jay-Z

13.     Vol. 2... Hard Knock Life (“HKL”) is the third studio album by American rapper
Jay-Z. It was released on September 29, 1998 on Roc-A-Fella Records. It went on to
become a commercially successful album, selling over 5 million (5,000,000) copies in the
United States. See Exhibit A.

14.     The album HKL contains the song “Paper Chase” which is performed by Jay-Z
featuring the legendary female rapper “Foxy Brown” and is produced by Mosley. The
credits on the song identify the composers/writers of the song as Jay-Z and Mosley. EMI
2 and WC also claim an interest in the exploitation of the copyright for “Paper Chase”.

15.     EMI 2, WC, Jay-Z and Mosley knew or should have known that the song “Paper
Chase” contained the guitar riff and musical crescendo from the composition of “Help
Me” as performed by Hines. Due to the use of the protectable guitar riff and musical
crescendo, “Help Me” and “Paper Chase” are substantially similar. Jay-Z and Mosley
contend they are the authors of the song “Paper Chase”. EMI 2, WC, Jay-Z and Mosley
claim ownership of the copyright or an interest in the copyright to “Paper Chase”
registration number PA0001320423, which infringes on the copyright of “Help Me”.

16.     EMI 2, WC, Jay-Z and Mosley, while working in conjunction with each other,
have obtained millions of dollars associated with “Paper Chase” from the exploitation,
sale, downloads, licensing, radio airplay, synchronization and digital streaming of the
song in violation of Plaintiff’s rights. Hines is a senior citizen, does not listen to rap
music and was unaware that “Paper Chase” contained his music and composition until
2018.

17.     The credits for “Paper Chase” on Tidal, an entity owned by Jay-Z, clearly
identifies the unauthorized use of the composition of “Help Me” and credits Ernie Hines
for “Help Me”. See Exhibit B.

                                              3
   Case 1:20-cv-03535-JPO          Document 1       Filed 05/06/20     Page 4 of 18




18.     Upon information and belief, “Paper Chase” has been played millions of times on
traditional, satellite and digital radio and appears on multiple compilation albums
including the 2003 release, “Bring It On - The Best of Jay-Z”.
https://www.discogs.com/Jay-Z-Bring-It-On-The-Best-Of/release/1031110 and the 2011
release “The Best Of Jay-Z” https://www.discogs.com/Jay-Z-The-Best-
Of/release/6244319, released by Sony Music Entertainment. The continuous actions of
EMI 2, WC, Jay-Z and Mosley infringe on the rights of the Plaintiff. WC, EMI 2, Jay-Z
and Mosley received millions of dollars in the exploitation of the composition.

100%Ginuwine - 1999-Ginuwine

19.    Upon information and belief, the same protectable elements of the musical
composition of “Help Me” were included by EMI 1 and Mosley in the song “Toe 2 Toe”
which was released on the Ginuwine album “100% Ginuwine” in March 1999 by Sony
Music Entertainment. Registration number PA0000987622. “100% Ginuwine” has sold
over 2 Million (2,000,000) copies to date. Exhibit C.

20.      Mosley is identified as one of the composers of the song “Toe 2 Toe” on the
Ginuwine song released by Sony Music Entertainment in 1999. “Toe 2 Toe” contains the
protectable guitar riff and musical crescendo of “Help Me”. “Help Me” and “Toe 2 Toe”
are substantially similar due to the use of the guitar riff and musical crescendo. Mosley
and EMI 1 provided the song “Toe 2 Toe” (which infringes on the protectable guitar riff
and musical crescendo in “Help Me”) to Sony Music Entertainment and other third
parties.

21.     Neither Mosley nor EMI 1 ever attempted to contact Hines to get his clearance to
license the use of the protectable guitar riff and musical crescendo from the composition
“Help Me” on the Ginuwine album in the song “Toe 2 Toe”. EMI 1 and Mosley claims
an interest in the copyright for “Toe 2 Toe”.

22.    EMI 1 and Mosley, while working together, have unlawfully infringed on Hines’
copyright and have converted the copyright for its own use. The infringement by EMI 1
and Mosley is knowing, willful and continuous. EMI 1 and Mosley never had Plaintiff’s
consent nor did they ever seek Plaintiff’s consent for over twenty (20) years. Plaintiff
learned of the use of his song “Help Me” in “Toe 2 Toe” in 2018.

23.     Attached as Exhibit D is a report further detailing the protected elements of the
musical composition “Help Me” which are substantially similar to “Paper Chase” and
“Toe 2 Toe”. The report is incorporated by reference. The composition for “Help Me” is
protected by three United States registered copyright filings (1) EU0000154302, (2) a
renewal and addendum registration of RE0000932464 and (3) PA 2-184-476 which have
all been infringed.

                                            4
      Case 1:20-cv-03535-JPO        Document 1        Filed 05/06/20      Page 5 of 18




                                      COUNT I
                          COPYRIGHT INFRINGEMENT
                          17 U.S.C. § 501, 502, 504 and 505
                         AGAINST EMI APRIL MUSIC INC.

24.     Hines repeats and realleges each of the preceding paragraphs 1-23 above.

25.   Hines is the co-author of “Help Me” which is registered in the United States
Copyright Office.

26.     EMI 1 with the assistance of Mosley, has unlawfully used the protectable
elements of the musical composition of “Help Me” and never sought Plaintiff’s approval
to use the musical composition. EMI 1 claims an interest in the “Toe 2 Toe” copyright
through its business relationship with Mosley and/or Virginia Beach Music, Inc.

27.    EMI 1 has infringed on Plaintiff’s rights under the United States Copyright Act.
“Help Me” is substantially similar to “Toe 2 Toe”.

28.     EMI 1 with the assistance of Mosley, marketed, licensed and/or benefitted from
the exploitation of the song “Toe 2 Toe” in violation of the Plaintiff’s rights. “Toe 2 Toe”
infringes on the musical composition of “Help Me” as the compositions are substantially
similar.

29.     Upon information and belief, EMI 1 licensed or benefitted from the licensing of
“Toe 2 Toe” to Sony Music Entertainment and others, the radio airplay of “Toe 2 Toe”
and the exploitation of the composition. “Help Me” and “Toe 2 Toe” are substantially
similar and EMI 1 committed copyright infringement, violating Plaintiff’s rights.

30.    Upon information and belief, EMI 1 has received money for the infringing
composition and has paid or caused other corporate entities to pay monies associated with
the composition “Toe 2 Toe” including Mosley.

31.     EMI 1, with the assistance of Mosley, have violated Plaintiff’s rights to control,
sell, market, and distribute derivate works of “Help Me”. “Toe 2 Toe” infringes on the
composition of “Help Me” in violation of Plaintiff’s rights.


32.     Hines seeks to (1) enjoin the activity of EMI 1 (2) actual or statutory damages per
sale (3) Attorney’s fees relating to Defendant’s actions and (4) an injunction prohibiting
the sale of the infringing composition.


                                             5
      Case 1:20-cv-03535-JPO         Document 1       Filed 05/06/20       Page 6 of 18




                                    COUNT II
                        COPYRIGHT INFRINGEMENT
                         17 U.S.C. § 501, 502, 504 and 505
                    AGAINST EMI BLACKWOOD MUSIC, INC.

33.     Hines repeats and realleges each of the preceding paragraphs 1-23 above.

34.   Hines is the co-author of “Help Me” which is registered in the United States
Copyright Office.

35.    EMI 2 has unlawfully used the protectable elements of the musical composition of
“Help Me” and never sought Plaintiff’s approval to use the musical composition.

36.     EMI 2 with the assistance of Jay-Z and Mosley, have infringed on Plaintiff's
rights under the United States Copyright Act. “Help Me” is substantially similar to “Paper
Chase”.

37.      EMI 2 with the assistance of Jay-Z and Mosley, marketed, licensed and/or
benefitted from the exploitation of the song “Paper Chase” in violation of the Plaintiff’s
rights. “Paper Chase” infringes on the musical composition of “Help Me” in violation of
Plaintiff’s rights. “Help Me” and “Paper Chase” are substantially similar compositions.

38.     Upon information and belief, EMI 2 with the assistance of Jay-Z and Mosley, has
licensed or benefitted from the licensing of “Paper Chase” to third parties and the radio
airplay of “Paper Chase” in violation of Plaintiff’s rights and collect funds in violation of
Plaintiff’s rights.

39.    Upon information and belief, EMI 2 has received money for the infringing
composition and has paid or caused other corporate entities to pay Jay-Z and/or Mosley
monies associated with the composition “Paper Chase”.

40.    EMI 2 has violated Plaintiff’s rights to control, sell, market, and distribute “Help
Me” and derivate works of “Help Me” and have committed copyright infringement.

41.     Hines seeks to (1) enjoin the activity of EMI 2 (2) actual or statutory damages per
sale (3) Attorney’s fees relating to Defendant’s actions and (4) an injunction prohibiting
the sale of the infringing composition.




                                              6
      Case 1:20-cv-03535-JPO        Document 1       Filed 05/06/20      Page 7 of 18




                                   COUNT III
                        COPYRIGHT INFRINGEMENT
                        17 U.S.C. § 501, 502, 504 and 505
                   AGAINST WARNER CHAPPELL MUSIC INC.

42.     Hines repeats and realleges each of the preceding paragraphs 1-23, 33-41 above.

43.   Hines is the co-author of “Help Me” which is registered in the United States
Copyright Office.

44.    WC received an interest in “Paper Chase” through its relationship with Lil Lu Lu
Publishing and/or Virginia Beach Music, Inc. and/or Mosley.

45.    WC, Jay-Z and Mosley have unlawfully used the protectable elements of the
musical composition of “Help Me” and never sought Plaintiff’s approval to use the
musical composition.

46.    WC with the assistance of Jay-Z and Mosley, has infringed on Plaintiff’s rights
under the United States Copyright Act. “Help Me” is substantially similar to “Paper
Chase”.

47.     WC 2 with assistance from Jay-Z and Mosley marketed, licensed and/or benefited
from the exploitation of the song “Paper Chase” in violation of the Plaintiff’s rights.
“Paper Chase” infringes on the musical composition of “Help Me” in violation of
Plaintiff’s rights.

48.    Upon information and belief, WC, Jay-Z and Mosley have licensed or benefitted
from the licensing of “Paper Chase” to third parties and the radio play, streaming and
synchronization of “Paper Chase” and collected funds in violation of Plaintiff’s rights.

49.    Upon information and belief, WC has received money for the infringing
composition and has paid or caused other corporate entities to pay Jay-Z and/or Mosely
monies associated with the composition “Paper Chase”.

50.      WC with the assistance of Jay-Z and Mosley have violated Plaintiff’s rights to
control, sell, market, and distribute“ Help Me” and derivate works of “Help Me” and have
committed copyright infringement.

51.     Hines seeks to (1) enjoin the activity of WC (2) actual or statutory damages per
sale (3) Attorney’s fees relating to Defendant’s actions and (4) an injunction prohibiting
the sale of the infringing composition.

                                             7
      Case 1:20-cv-03535-JPO        Document 1        Filed 05/06/20     Page 8 of 18




                                        COUNT IV
                            COPYRIGHT INFRINGEMENT
                             17 U.S.C. § 501, 502, 504 and 505
                         AGAINST SHAWN CARTER P/K/A JAY-Z


52.     Hines repeats and realleges each of the preceding paragraphs 1-23, 33-51 above.

53.   Hines is the co-author of “Help Me” which is registered in the United States
Copyright Office.

54.     Jay-Z is a composer of the song “Paper Chase”. Jay-Z unlawfully used the
protectable elements of the musical composition of “Help Me” in the song “Paper Chase”
and never sought Hines’ approval to use the musical composition. “Help Me” is
substantially similar to “Paper Chase”. “Paper Chase” infringes on the musical
composition of “Help Me” in violation of Plaintiff’s rights.

55.      Jay-Z with assistance from EMI 2, WC and Mosley marketed, licensed and/or
benefitted from the exploitation of the song “Paper Chase” in violation of the Plaintiff’s
rights. “Paper Chase” infringes on the musical composition of “Help Me” in violation of
Plaintiff’s rights.

56.     Defendant Jay-Z claims an ownership interest in the composition for “Paper
Chase” which contains the protectable elements of the composition “Help Me”. Carter,
will working in conjunction with Mosley, EMI 2 and WC, provided the infringing song to
record label and other third parties such as Universal Music Group, Sony Entertainment
and others.

57.    Jay Z has collected music publishing royalties from various entities in violation of
Hines’ rights.

58.     Jay-Z has harmed Plaintiff in his business.


                                       COUNT V
                           COPYRIGHT INFRINGEMENT
                            17 U.S.C. § 501, 502, 504 and 505
                    AGAINST TIMOTHY MOSLEY P/K/A TIMBALAND
                       FOR THE COMPOSITION PAPER CHASE

59.    Hines repeats and realleges each of the preceding paragraphs 1-23, and 33-58
above.

                                             8
      Case 1:20-cv-03535-JPO        Document 1         Filed 05/06/20     Page 9 of 18




60.   Hines is the co-author of “Help Me” which is registered in the United States
Copyright Office.

61.     Mosley is a composer of the song “Paper Chase”. Jay-Z unlawfully used the
protectable elements of the musical composition of “Help Me” in the song “Paper Chase”
and never sought Hines’ approval to use the musical composition. “Help Me” is
substantially similar to “Paper Chase”. “Paper Chase” infringes on the musical
composition of “Help Me” in violation of Plaintiff’s rights.

62.      Mosley with assistance from EMI 2, WC and Jay-Z marketed, licensed and/or
benefited from the exploitation of the song “Paper Chase” in violation of the Plaintiff’s
rights. .

63.     Mosley claims ownership of the composition for “Paper Chase” which contains
the protectable elements of the composition “Help Me”. Mosley, while working in
conjunction with Jay-Z, EMI 2 and WC, provided the infringing song to record label and
other third parties.

64.    Mosley has collected music publishing royalties from various entities in violation
of Hines’ rights.

65.     Mosley has harmed Plaintiff in his business.


                                      COUNT VI
                           COPYRIGHT INFRINGEMENT
                           17 U.S.C. § 501, 502, 504 and 505
                 AGAINST TIMOTHY MOSLEY P/K/A TIMBALAND FOR
                          THE COMPOSITION TOE 2 TOE

66.     Hines repeats and realleges each of the preceding paragraphs 1-32 above.

67.   Hines is the co-author of “Help Me” which is registered in the United States
Copyright Office.

68.     Mosley is a composer of the song “Toe 2 Toe”. Timbaland unlawfully used the
protectable elements of the musical composition of “Help Me” in the song “Toe 2 Toe”
and never sought Hines’ approval to use the musical composition.

69.    Mosley with the assistance of EMI 1, marketed, licensed and/or benefitted from
the exploitation of the song “Toe 2 Toe” in violation of the Plaintiff’s rights. “Toe 2 Toe”


                                             9
      Case 1:20-cv-03535-JPO        Document 1          Filed 05/06/20   Page 10 of 18




infringes on the musical composition of “Help Me” as the compositions are substantially
similar.

70.     Upon information and belief, Mosley with the assistance of EMI1, licensed or
benefitted from the licensing of “Toe 2 Toe” to Sony Music Entertainment and others, the
radio airplay of “Toe 2 Toe”, and the exploitation of the composition.

71.    Mosley has collected music publishing royalties from various entities in violation
of Hines’ rights.

72.      Mosley has harmed Plaintiff in his business.


WHEREFORE, The Plaintiff demands a jury trial and the following:

1.       Judgment on all counts and amount to be determined by the Court;
2.       Interest;
3.       Attorney’s Fees;
4.       A permanent injunction, and,
5.       Any other relief this Court deems just and equitable.


                                              ERNIE HINES D/B/A COLORFUL MUSIC
                                              By His Attorneys,



                                              Christopher Brown
                                              CB3465
                                              Brown & Rosen LLC
                                              Attorneys At Law
                                              100 State Street, Suite 900
                                              Boston, MA 02109
                                              617-728-9111 (T)
Dated: May 6, 2020                            cbrown@brownrosen.com




                                             10
Case 1:20-cv-03535-JPO   Document 1   Filed 05/06/20   Page 11 of 18




      EXHIBIT A




                               11
Case 1:20-cv-03535-JPO   Document 1   Filed 05/06/20   Page 12 of 18




                               12
Case 1:20-cv-03535-JPO   Document 1   Filed 05/06/20   Page 13 of 18




      EXHIBIT B




                               13
Case 1:20-cv-03535-JPO   Document 1   Filed 05/06/20   Page 14 of 18




                               14
Case 1:20-cv-03535-JPO   Document 1   Filed 05/06/20   Page 15 of 18




                               15
Case 1:20-cv-03535-JPO   Document 1   Filed 05/06/20   Page 16 of 18




      EXHIBIT C




                               16
Case 1:20-cv-03535-JPO   Document 1   Filed 05/06/20   Page 17 of 18




                               17
 Case 1:20-cv-03535-JPO   Document 1   Filed 05/06/20   Page 18 of 18




       EXHIBIT D
Joe Bennett Report dated September 8, 2019




                                18
